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       Criminal   Investigation
                                          DEPARTMENT OF THE TREASURY
                                           INTERNAL REVENUE SERVICE
                                             WASHINGTON, D.C. 20224

                                                                                          N (J ARtcA -
                  CAUTION: ENCLOSURES CONTAIN GRAND JURY INFORMATION
                                                January 6, 2007


       The Honorable Eileen J. O'Connor
       Assistant Attorney General
       Department of Justice, Tax Division
       600 E Street, NW, Room 5013
       Washington, DC 20530                                     ~-p~~L¡rç,"" ¡1M - MLP',l
       Attn: Ronald A. Cimino, Chief
                   Western Criminal Enforcement Section
                                                                    crt'
       Re: Request for Expansion of Grand Jury Investigation
       Concerning: OSCAR A. STI LLEY XXX-XX-XXXX
       Dear Ms. O'Connor:

       I am referring the matter shown above to your office with the recommendation that
       approval be given to conduct a grand jury investigation into the activities of OSCAR A.
       STILLEY insofar as it relates to Title 26 and Title 26-related violations for the years
       2000 through 2005. Disclosures of tax return and/or tax return information made herein
       or in the accompanying enclosures are authorized by 26 U.S.C. § 61 03(h)(3)(A).

       Based on my review of the information provided by the U.S. Attorney and our
       examination of the relevant tax records, I find there is reason to believe that federal
       criminal tax violations have been committed, and that the requested investigation has
       the potential for significant deterrent potentiaL. i have prepared to commit Internal
       Revenue Service resources to assist in the investigation of potential Title 26 and Title
       26-related violations that OSCAR A. STILLEY may have committed.

       The following information is enclosed for your review:

                   Listing of persons in this office who have had access to the information in the
                   request.
                   Form 9131 and exhibits.
                   Evaluation memorandum prepared by a Criminal Tax attorney.




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 Please advise me of your decision in this matter. Originals or copies of any
 correspondence sent to this office should be addressed to me with the notation,
 "Material to be Opened by Addressee Only." If you have any questions regarding this
 request, please contact Supervisory Special Agent Bob Taylor or Special Agent Brian
 Shern at (918) 384-4716.




                                          Sincerely,


                                           ~~ 1
                                          Acting Special Agent in Charge
                                          Dallas Field Office SE:CI:FO:MS:DAL
                                          Criminal   Investigation
 Enclosures

 cc: The Honorable David E. O'Meilia
      United States Attorney
      Northern Judicial District of Oklahoma
     Attn: AUSA Loretta Radford
      110 West ¡th Street, Suite 300
     Tulsa, OK 74119

    Richard Rappazzo
    Area Counsel (Criminal Tax)

    Osmun Latrobe
    Senior Attorney (Criminal Tax)

    Bob Taylor
    Supervisory Special Agent (Criminal   Investigation)
